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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:05CR3032
                                    )
          v.                        )
                                    )
JESSICA YVONNE SERVIN,              )                    ORDER
                                    )
                Defendant.          )
                                    )
                                    )


     Upon defendant Servin’s oral motion to enter a change of
plea and request for hearing,

     IT IS ORDERED,

     1.   Defendant’s change of plea hearing is scheduled before
the undersigned on September 25, 2005 at 1:00 p.m. in Courtroom
#2, United States Courthouse, Lincoln, Nebraska.

     2.   For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


     DATED this 11th day of October, 2005.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
